          Case 1:18-cr-00493-ELH Document 68 Filed 10/24/18 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                        :
                                                :
                 v.                             :     CRIMINAL NO. ELH-18-493
                                                :
       Diamonte Jackson, et al.                 :
                                                :
                                            ...o0o...

                                 ENTRY OF APPEARANCE

       Please enter the appearance of Christopher M. Rigali, Assistant United States Attorney for

the District of Maryland as co-counsel on behalf of the United States.

                                             Respectfully submitted,

                                             Robert K. Hur
                                             United States Attorney


                                             ________/s/________________
                                             Christopher M. Rigali
                                             Assistant United States Attorney
